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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

KAREN DURDEN and
MICHAEL DURDEN,

        Plaintiff,

v.                                             CASE NO.: 5:20-cv-00106-AW-MJF

AIG PROPERTY CASUALTY COMPANY,

     Defendant.
___________________________________/

            JOINT REPORT FOR PARTIES’ PLANNING CONFERENCE
               AND PROPOSED ALTERNATIVE DISCOVERY AND
                        SCHEDULING DEADLINES

        The parties, pursuant to Rule 26(f), Federal Rules of Civil Procedure, and this

Court’s April 8, 2020, Initial Scheduling Order (Doc. 3), hereby file the following

Joint Report for the Parties’ Planning Conference and would state as follows:

        1.     CONFERENCE ATTENDANCE

        On May 5, 2020, counsel for Plaintiffs, Michael P. Dickey, Esq., and counsel

for Defendant, Thomas J. Moody, Esq., attended, by telephone, a Joint Planning

Conference in this matter. Counsel jointly states that the following statements and

proposed deadlines were agreed upon by both parties and respectfully requests this

Court adopt the parties’ proposed deadlines.




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        2.    MAGISTRATE JURISDICTION

        Pursuant to Local Rule 73.1, the parties have conferred regarding Magistrate

Judge jurisdiction over this case.

        3.    NATURE AND BASIS OF CLAIMS AND DEFENSES

        Plaintiff states the Durdens owned a home in Panama City Beach that was

insured under a policy issued by defendant AIG. The home was badly damaged in

Hurricane Michael. The Durdens contend that AIG breached its obligations under

the policy by not paying the claim in accordance with the policy’s express terms,

and not diligently adjusting the claim once AIG was on notice of the loss. The

Durdens are entitled to attorneys’ fees and costs pursuant to sec. 627.428, Florida

Statutes.

        Defendant states that Plaintiffs’ cause of action is based upon an insurance

contract, and Defendant’s duties and obligations are determined by the insurance

contract. Defendant further states that is has complied with all of its duties and

obligations set forth in the insurance contract. Plaintiffs have exaggerated and

inflated their purported damages, and mischaracterized purported damages that are

expressly excluded from coverage under the policy. Defendant further states that

Plaintiffs have failed to comply with Plaintiffs’ duties and obligations under the

insurance contract, and have failed to comply with the Duties After Loss provision

of the policy. Moreover, Plaintiffs materially breached the policy, and voided


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coverage as a matter of law. Defendant states that it does not owe Plaintiffs any

money or other relief for the claimed loss described in the Amended Complaint.

        4.    PROMPT SETTLEMENT POSSIBILITY

        Prompt settlement or resolution may be assisted by mediation.

        5.    PARTIES DISCOVERY REQUIREMENTS

        The parties proposed discovery requirements and dates are set forth in the

table below. Otherwise, the parties state that discovery will commence immediately.

              A.    Disclosure or production will be limited to data reasonably

available to the parties in the ordinary course of business.

              B.    The parties will make every effort to produce the electronic

documents either via electronic dropbox/file sharing, compact discs, flash drives, or

electronic mail.

        6.    DISCOVERY OF ELECTRONIC OR COMPUTER BASED
              MEDIA

        The parties will likely request or produce information from electronic or

computer-based media.

              A.    Disclosure or production will be limited to data reasonably

available to the parties in the ordinary course of business.

              B.    The parties will make every effort to produce the electronic

documents either via electronic dropbox/file sharing, compact discs, flash drives, or

electronic mail.

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              C.      The parties agree that reasonable measures have been taken to

preserve potentially discoverable data from alteration or destruction in the ordinary

course of business.

              D.      If privileged information is inadvertently produced, the parties

will comply with Fed. R. Evid. 502 and Fed. R. Civ. P. 26(b)(5)(B).

              No other problems are anticipated by the parties in connection with

electronic discovery.

        7.    TRIAL DATE ESTIMATE

        The parties estimate that this matter will be ready and counsel will be available

for trial in the weeks beginning April 5, April 12, May 10, or May 17, 2021. These

dates not only account for the anticipated discovery to be completed in this matter,

but also contemplate lead counsels’ current and pending trial commitments. Further,

all counsel agree that this matter could not be prepared for trial before April 5, 2021.

Therefore, undersigned counsel and the parties respectfully request this Court accept

these proposed trial dates. Upon detailed review of the calendars of both parties, both

parties agree that April 5, 2021 is the first mutually agreeable time that lead counsel

for both parties have availability.

        8.    RULE 26(a)(1) DISCLOSURES

        The parties will complete Rule 26(a)(1) disclosures on or before May 22,

2020. The parties request that the Court accept this change to the Initial Scheduling


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Order because the parties reasonably anticipate that they will be unable to receive

and review materials necessary for completing the Rule 26(a)(1) disclosures prior to

May 22, 2020.

        9.    MANUAL FOR COMPLEX LITIGATION

        This case should not be subject to the Manual for Complex Litigation.

        10.   PARTIES PROPOSED TIMETABLES AND DEADLINES

                 EVENT                            PROPOSED DATES
 Join Parties and Amend Pleadings        Plaintiffs – May 20, 2020
                                         Defendant – May 27, 2020
 Mandatory Initial Disclosures, pursuant All Parties – May 22, 2020
 to Fed.R.Civ.P. 26(a)(1)
 Mediator must be selected               September 1, 2020
 Expert Witness Disclosure               Plaintiffs – September 30, 2020
                                         Defendant – October 30, 2020
 Witness and Exhibit List                Under Rule 26(a)(3), in accordance
                                         with the Court’s Scheduling Order to
                                         be entered after completion of
                                         discovery
 Mediation shall begin by                November 13, 2020
 Mediation shall be completed by         November 27, 2020
 Discovery Deadline                      January 29, 2021
 Dispositive & Daubert Motions           March 1, 2021
 Joint Final Pretrial Statement          March 19, 2021
 All Other Motions Including Motions     March 19, 2021
 in Limine
 Final Pretrial Conference               In accordance with the Court’s Final
                                         Scheduling Order and Order Setting
                                         Trial
 Trial Term Begins                       Per Court Order
 Estimated Length of Trial               5 days
 Jury/Non-Jury                           Jury




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Dated: May 20, 2020

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